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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Ubiquiti Networks, Inc. v.                     Case Number: 18-cv-5369
            Cambium Networks, Inc. et al.

An appearance is hereby filed by the undersigned as attorney for:
UBIQUITI NETWORKS, INC.
Attorney name (type or print): David E. Koropp

Firm: Fox Swibel Levin & Carroll LLP

Street address: 200 West Madison Street, Suite 3000

City/State/Zip: Chicago, IL 60606

Bar ID Number: 6201442                                     Telephone Number: 312-224-1200
(See item 3 in instructions)

Email Address: dkoropp@foxswibel.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this &ourt an attorney must either be a member in good standing of this &ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 8.6.&§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on April 10, 2019

Attorney signature:            S/ David E. Koropp
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
